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 NOT FOR PUBLICATION


                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 FRANK HALL, individually and on behalf of
 all others similarly situated,

                         Plaintiff,                       Civil Action No. 18-1833 (ZNQ) (TJB)

                         v.                                             OPINION

 JOHNSON & JOHNSON, et al,

                         Defendants.


 QURAISHI, District Judge

        THIS MATTER comes before the Court upon a Motion for Class Certification pursuant

 to Federal Rule of Civil Procedure 23 filed by Plaintiff, (ECF No. 180), and two Motions to

 Supplement the Class Certification Record filed by Defendants. (ECF Nos. 189, 192.)

        This class action concerns allegations of securities fraud. Lead Plaintiff San Diego County

 Employees Retirement Association’s (“Plaintiff”) asserts that Defendant Johnson & Johnson

 (“J&J” or the “Company”), and several of its key officers and/or employees, including Alex

 Gorsky (“Gorsky”), Carol Goodrich (“Goodrich”), Joan Casalvieri (“Casalvieri”), and Tara

 Glasgow (“Glasgow”) (collectively with J&J, “Defendants”) engaged in fraud under Section 10(b)

 and Rule 10b-5 of the Securities Exchange Act of 1934, 15 U.S.C. § 78a et seq. (Am. Compl., ECF

 No. 33.) Plaintiff alleges that Defendants fraudulently inflated the value of J&J’s stock by issuing

 false and misleading statements as part of a long-running scheme to conceal the truth from

 investors that the Company’s talc products were contaminated with asbestos, and that Plaintiff and

 other investors relied on these material misrepresentations and omissions to their detriment.


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        The Court has carefully considered the parties’ submissions and decides the Motions

 without oral argument pursuant to Federal Rule of Civil Procedure 78 and Local Civil Rule 78.1.

 For the reasons set forth below, Defendants’ Motions to Supplement the Class Certification Record

 related to the alleged corrective disclosures on December 14, 2018; February 5, 2018; and

 February 7, 2018 (ECF Nos. 189, 192) will be GRANTED. Plaintiff’s Motion for Class

 Certification (ECF No. 180) will be GRANTED.

 I.     BACKGROUND AND PROCEDURAL HISTORY

        As the parties are familiar with this matter, the Court does not provide a detailed factual

 recitation. Instead, the Court includes certain relevant facts from its prior Opinion dated December

 27, 2019 (“Prior Opinion”) and discusses any additional facts in the analysis section below.

        A.      FACTUAL BACKGROUND

        J&J is a multinational company engaged in research and development, manufacturing, and

 sale of a broad range of healthcare products. (Am. Compl. ¶ 20.) J&J has three business segments:

 pharmaceutical, medical device, and consumer. (Id.) The products produced by the consumer

 segment include Baby Powder (“Baby Powder”) and “Shower-to-Shower” (“Shower-to-Shower”)

 (collectively, the “Talc Products”), which are both made from cosmetic talc. (Id. ¶¶ 48, 49.) Each

 of the individual defendants, on the other hand, is, or was, a senior J&J executive and, along with

 other personnel, allegedly helped perpetuate the Company’s fraudulent scheme over its investors.

        Put simply, Plaintiff alleges that Defendants concealed the truth about the asbestos in its

 Talc Products through a highly organized campaign of deceit and regulatory manipulation.

 According to Plaintiff, Baby Powder “stands out as a symbol of J&J’s history and legacy” and has

 been described by the Company’s executives as “an institution,” “flagship product,” and “sacred

 cow.” (Id. ¶¶ 43, 47.) Plaintiff contends that the Talc Products “are contaminated with cancer-




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 causing asbestos.” (Id. ¶ 1.) Cosmetic talc is a naturally occurring mineral that is mined from rock

 and then ground into powder form. (Id. ¶ 49.) Talc can be naturally contaminated with different

 types of asbestos, such as chrysotile, tremolite, actinolite, anthophyllite, amosite, and crocidolite

 minerals, that develop as bundles of long, thin fibers that are flexible and easily separable, rather

 than as solid rock. (Id. ¶ 50.) Tremolite, actinolite, and anthophyllite minerals can also develop

 naturally as larger rocks, i.e., “non-asbestiform.” (Id. ¶ 50 n.6.) The parties dispute the health

 risks, if any, posed by those minerals in their non-asbestos form, however, they agree that asbestos

 fibers can cause fatal cancers. (Id. ¶ 50 n.6; see ECF No. 44-1, Memorandum of Law in Support

 of Defendants’ Motion to Dismiss First Amended Class Action Complaint, at 5.)

        According to Plaintiff, in the 1970s, concerns about the safety of talc-based products and

 the potential for asbestos contamination began to surface, and as a result, J&J allegedly initiated a

 concerted effort to convince the public that talc was safe. (Id. ¶ 51.) Similarly, after public health

 researchers in the 1980’s started to consider a potential association between talc powder usage and

 ovarian cancer, the Company’s alleged scheme turned to quelling those concerns. (Id. ¶ 74.) To

 that end, the Company allegedly “lied to the public, influenced regulators, and purposely avoided

 testing methods that could detect the trace amounts of asbestos that the Company knew were

 present,” (id. ¶ 51), and sought to preclude health organizations such as the National Toxicology

 Program (“NTP”) and the World Health Organization (“WHO”) from listing talc as a carcinogen,

 id. ¶¶ 82–84, 100–02.

        Plaintiff alleges that J&J went to extreme lengths to defend its products, including updating

 the Company’s website to address the safety of the Talc Products, and seeking to conceal negative

 data from the FDA. (Id. ¶¶ 227, 288, 299.) Plaintiff alleges that while the Company was engaged




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 in its offensive tactics to conceal negative data regarding its talc from the public, J&J was

 repeatedly informed of, and internally discussed, the asbestos contamination in its Talc Products.

        In 2013, J&J began facing lawsuits alleging a connection between ovarian cancer and talc,

 and that asbestos in its talc powder caused cancer. (Id. ¶¶ 120, 179–86, 192–201, 204, 213–22.)

 Plaintiff alleges that, shortly thereafter, the Company began issuing numerous false and misleading

 statements—a continuation of its decade’s long scheme—which form the basis of Plaintiff’s

 instant claims. Plaintiff further alleges that the various misstatements made during the Class

 Period were aimed at preserving the public trust and precluding the discovery of the Company’s

 longstanding misinformation campaign.

        Despite the Company’s efforts, throughout 2017 and 2018, it is alleged that the truth

 regarding asbestos in the Talc Products was slowly disclosed, and the Company’s stock price

 began to decline. (Id. ¶¶ 184–237.) On September 21, 2017, a law firm issued a press release (the

 “Bernstein Release”), entitled “Talcum Powder Lawsuit Plaintiffs Claim Unsealed Documents

 Show Johnson & Johnson Knew of Talc-Asbestos Danger in 1970s, Bernstein Liebhard LLP

 Reports.” (Id. ¶ 184.) The press release indicated that plaintiffs in the ovarian cancer lawsuits

 were looking to add asbestos allegations to their ovarian cancer claims. (Id.) In response to the

 news, J&J’s stock price declined from a close of $130.94 on September 26, 2017, to a close of

 $129.75 on September 27, 2017, and an event study allegedly “determined that [the decline] was

 statistically significant” and “cannot be attributed to market and sector factors, or to random

 volatility, but rather was caused by new company-specific information.” (Id. ¶ 185, 185 n.21.)

        On January 30, 2018, testimony began in a New Jersey state court case (the “Lanzo Case”

 or “Lanzo trial”) where the plaintiff, Stephen Lanzo, alleged that he developed mesothelioma as a

 result of exposure to J&J Baby Powder containing asbestos. In that connection, a Law360 article




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 reported on product liability plaintiffs’ opening statements in the Lanzo trial that “asserted that

 Johnson & Johnson [was] aware that talc contained asbestos in the 1970s,” and referenced a 1975

 report that allegedly stated asbestos was found in J&J talc. (Id. ¶ 192.) In response, J&J’s stock

 dropped 3% from a close of $142.43 on January 30, 2018, to a close of $138.19 on January 31,

 2018. (Id. ¶ 193.) An event study allegedly determined that the decline was statistically

 significant. (Id.)

         On February 5, 2018, Mesothelioma.net published an article anticipating use of “damaging

 internal company documents” during the Lanzo trial. (Id. ¶ 194.) Plaintiff alleges that following

 the publication of that article, the value of Company’s stock declined over 5%, from a close of

 $137.68 on February 2, 2018, to a close of $130.39 on February 5, 2018, the following trading

 day, which an event study determined to be statistically significant. (Id. ¶ 195.)

         On July 12, 2018, a jury in a Missouri product liability lawsuit (the Ingham case), the first

 trial where plaintiffs alleged that their ovarian cancer was caused by asbestos in the Talc Products,

 rather than talc itself, issued a $4.69 billion verdict in favor of the plaintiffs. (Id. ¶ 213.) Following

 the jury verdict, the Company’s stock price declined 1%, which an event study determined to be

 statistically significant. (Id. ¶ 214.) Market commenters and financial analysists also contributed

 the decline to the jury verdict. (Id. ¶¶ 215–18.)

         On December 14, 2018, Reuters published a highly detailed investigative report (the

 “Reuters article”) entitled, “Powder Keg: Johnson & Johnson knew for decades that asbestos

 lurked in its Baby Powder.” (Id. ¶ 223.) The article purportedly provided new information

 regarding the Company’s knowledge of asbestos contamination in the Talc Products, the

 Company’s alleged offensive campaign to convince regulators that talc was not a carcinogen, the

 Company’s unsuccessful efforts to remove asbestos from its talc, and its failure to use “essential”




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 testing methods. (Id. ¶¶ 223–43.) Furthermore, the article allegedly included never-before-seen

 internal J&J documents that detailed the Company’s knowledge of asbestos in the Talc Products

 and documented J&J’s longstanding fraudulent cover-up scheme. (Id. ¶ 223.)

        Following the publication of the Reuters article, J&J’s stock price plummeted 10% from a

 closing price of $147.78 the prior day to a closing price of $133. (Id. ¶ 233.) An event study

 determined that the decline “was statistically significant.” (Id.)

        B.      PROCEDURAL HISTORY

        On February 8, 2019, plaintiff Frank Hall filed a putative class action complaint on behalf

 of all investors that purchased J&J securities between February 22, 2013 and February 7, 2018,

 alleging violations of Section 10(b) of the Securities Act of 1934 and Rule 10(b)(5) (Count 1) by

 all Defendants, and violations of Section 20(a) of the 1934 Act by defendants J&J, Gorsky, and

 Caruso (Count 2). (See ECF No. 1.) On February 28, 2019, the Court appointed San Diego County

 Employees Retirement Association as Lead Plaintiff. (See ECF No. 20.) An Amended Complaint

 was filed on February 28, 2019. (See ECF No. 33.) The new pleadings added Sandra Peterson,

 Carol Goodrich, Joan Casalvieri, Michael Sneed, and Tara Glasgow as defendants, and also

 extended the Class Period through December 2018. (Id.)

        Subsequently, Defendants filed a motion to dismiss, arguing that Plaintiff had failed to

 state a claim under the applicable securities laws because: (1) the allegedly “new” information

 about the existence of asbestos in J&J’s talc was immaterial; (2) alleged misrepresentations and

 omissions were either true or a non-actionable opinion; (3) Plaintiff had failed to allege a strong

 inference of scienter; 4) Plaintiff had not sufficiently alleged loss causation; and (5) Plaintiff’s

 claims based on events occurring after February 7, 2018, (the end of the class period proposed in

 the initial Complaint) were not viable.




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        On December 27, 2019, this Court granted in part and denied in part Defendants’ motion

 to dismiss the Amended Complaint. (See ECF No. 49.) Specifically, the Court found that

 Plaintiff’s Section 10(b) and Rule 10b–5 claims are limited to those stemming from Defendants’

 statements regarding the safety of its talc products, the “asbestos-free” nature of its talc, and the

 Company’s commitment to product safety, quality assurance, and research, and Plaintiff’s claims

 based upon Defendants’ alleged misstatements about the viability of the Product Liability lawsuits

 are dismissed. (Id.) Furthermore, because Plaintiff had not adequately alleged facts suggesting a

 strong inference of scienter as to defendants Caruso, Peterson, and Sneed, the Court dismissed

 those defendants from the lawsuit. (Id.)

        On May 25, 2023, Plaintiff filed the instant Motion for Class Certification (see Pl.’s Mov.

 Br., ECF No. 180-1), which Defendants opposed. (See Defs.’ Opp., ECF No. 181.) The parties

 also filed several sur-replies and supplemental submissions which the Court considers.

        On May 26, 2023, Defendants filed two Motions to Supplement the Class Certification

 Record. (ECF Nos. 189, 192.) Plaintiff opposed both motions. (ECF Nos. 190, 197.)

 II.    LEGAL STANDARD

        Federal Rule of Civil Procedure 23 governs class actions. Marcus v. BMW of N. Am., LLC,

 687 F.3d 583, 590 (3d Cir. 2012). “[E]very putative class action must satisfy the four requirements

 of Rule 23(a) and the requirements of either Rule 23(b)(1), (2), or (3).” Id. at 590 (citing Fed. R.

 Civ. P. 23(a)-(b)). Plaintiff first bears the burden of showing that the proposed class satisfies the

 four requirements of Rule 23(a):

                (1) the class is so numerous that joinder of all members is
                impracticable;
                (2) there are questions of law or fact common to the class;
                (3) the claims or defenses of the representative parties are typical of
                the claims or defenses of the class; and




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                (4) the representative parties will fairly and adequately protect the
                interests of the class.

 Fed. R. Civ. P. 23(a); Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). These four prongs are

 often referred to as numerosity, commonality, typicality, and adequacy. See, e.g., Erie Ins. Exch.

 v. Erie Indem. Co., 722 F.3d 154, 165 (3d Cir. 2013).

        Plaintiff must also show that proposed class satisfies Rule 23(b)(1), (b)(2), or (b)(3).

 Marcus, 687 F.3d at 590. Here, Plaintiff argues that the putative class meets the requirements of

 Rule 23(b)(3). Under Rule 23(b)(3), a plaintiff must show the following:

                [Q]uestions of law or fact common to class members predominate
                over any questions affecting only individual members, and that a
                class action is superior to other available methods for fairly and
                efficiently adjudicating the controversy. The matters pertinent to
                these findings include: (A) the class members’ interests in
                individually controlling the prosecution or defense of separate
                actions; (B) the extent and nature of any litigation concerning the
                controversy already begun by or against class members; (C) the
                desirability or undesirability of concentrating the litigation of the
                claims in the particular forum; and (D) the likely difficulties in
                managing a class action.

 Fed. R. Civ. P. 23(b)(3).

        Pursuant to Rule 23(c)(1)(A), a court “must determine by order whether to certify the action

 as a class action.” Fed. R. Civ. P. 23(c)(1)(A). The decision to certify a class or classes is left to

 the discretion of the court. In re Hydrogen Peroxide Antitrust Litig., 552 F.3d 305, 310 (3d Cir.

 2008), as amended (Jan. 16, 2009). “[T]he requirements set out in Rule 23 are not mere pleading

 rules.” Marcus, 687 F.3d at 591 (alteration in original) (quoting Hydrogen Peroxide, 552 F.3d at

 316). “The party seeking certification bears the burden of establishing each element of Rule 23

 by a preponderance of the evidence.” Id. “A party’s assurance to the court that it intends or plans

 to meet the requirements is insufficient.” Hydrogen Peroxide, 552 F.3d at 318.




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        The Third Circuit emphasizes that “‘[a]ctual, not presumed[,] conformance’ with Rule 23

 requirements is essential.” Marcus, 687 F.3d at 591 (alterations in original) (quoting Newton v.

 Merrill Lynch, Pierce, Fenner & Smith, Inc., 259 F.3d 154, 167 (3d Cir. 2001)). “To determine

 whether there is actual conformance with Rule 23, a district court must conduct a ‘rigorous

 analysis’ of the evidence and arguments put forth.” Id. (quoting Gen. Tel. Co. of the Sw. v. Falcon,

 457 U.S. 147, 161 (1982)). This “rigorous analysis” requires a district court to “resolve all factual

 or legal disputes relevant to class certification, even if they overlap with the merits – including

 disputes touching on elements of the cause of action.” Id. (quoting Hydrogen Peroxide, 552 F.3d

 at 307, 316). Therefore, a district court “may ‘delve beyond the pleadings to determine whether

 the requirements for class certification are satisfied.’” Hydrogen Peroxide, 552 F.3d at 320

 (quoting Newton, 259 F.3d at 167).

 III.   DISCUSSION

        A.      SCOPE OF THE MOTION FOR CLASS CERTIFICATION

        At the outset, the Court must address the scope of Plaintiff’s Motion for Class Certification,

 including whether to consider supplemental evidence related to the alleged corrective disclosures

 on February 5, 2018; February 7, 2018; and December 14, 2018.

                1.      First Motion to Supplement the Record

        On May 26, 2023, Defendants filed a Motion to Supplement the Class Certification Record

 (“First Motion to Supplement”), which purportedly confirms that the December 14, 2018, Reuters

 article did not contain any new allegedly corrective information, and therefore, could not have

 impacted J&J’s stock price. (“Defs.’ First Motion to Supp. Mov. Br.”, ECF No. 189.) Specifically,

 Defendants submit the Declaration of Mark Lanier (the “Lanier Declaration”). (Id.) Lanier was

 the lead trial lawyer for the twenty-two plaintiffs in the Ingham product liability case tried in St.

 Louis, Missouri in June and July 2018, and according to Defendants, the Reuters article “discussed


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 that case extensively, quoted Lanier, and attributed photos to him.” (Id. at 1.) Lanier certifies that

 he was a “primary source” for the Reuters article, that he provided the article’s author “with

 information and documents regarding the talcum powder products and related litigation,” and that

 “[e]verything that [he] provided to [the author] was publicly available” prior to the article’s

 publication.   (Id. at 1–2.)     According to Defendants, the Lanier Declaration “powerfully

 corroborates Defendants’ proof that the Reuters article contained no new allegedly corrective

 information,” because “as the lead trial lawyer in Ingham and a ‘primary source’ of the article,

 Lanier is uniquely positioned to verify that ‘all the information and documents referenced in the

 Reuters article’ had been previously publicly available, and that the article merely rehashed the

 product liability plaintiffs’ arguments.” (Id. at 2.)

        Because Plaintiff, in response, does not challenge the Court’s ability to consider this

 supplemental evidence when deciding the Motion to Certify the Class, 1 the Court grants

 Defendants’ First Motion to Supplement. (“Pl.’s Opp. to First Motion to Supp.”, ECF No. 190.)

 Plaintiff emphasizes only that if this “desperate” evidence is considered, Defendants’ argument

 that the December 14, 2018, Reuters article contained no “new” corrective information, still falls

 short. (Id. at 1.) For example, Plaintiff highlights that Lanier acknowledges he does not have any

 “personal information” regarding “additional source interviews or documents” provided to Reuters

 in connection with the article, does not address the testimony of Professor Steven P. Feinstein,

 Ph.D., CFA, that the Reuters article revealed new and corrective information and caused the

 statistically significant price decline on December 14, 2018; does not address the admission by

 Defendants’ own expert that the Reuters article revealed new information to the market; and fails



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   The Court notes that while Plaintiff does challenge the timeliness of the Lanier Declaration in a
 footnote, the bulk of its argument is related to whether Lanier’s testimony defeats certification
 with respect to the December 14, 2018 alleged corrective disclosure.

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 to dispute evidence of price impact provided by J&J’s statistically significant stock price decline

 following the Reuters article’s publication. (Id. at 1, 8.) In short, because Plaintiff has not provided

 any basis for the Court to ignore this new evidence, Defendants’ First Motion to Supplement is

 granted. That said, however, the Court will consider Plaintiff’s substantive arguments challenging

 the Lanier Declaration when it evaluates the December 14, 2018, alleged corrective disclosure in

 connection with Plaintiff’s Motion to Certify the Class.

                2.      Second Motion to Supplement the Record

        Defendants’ opposition to Plaintiff’s Motion for Class Certification did not challenge the

 certification of claims related to the alleged corrective disclosures on February 5, 2018, and

 February 7, 2018. (Defs.’ Opp. at 4.) While Defendants’ opposition made it clear that they

 disputed the merits of those claims and alleged corrective disclosures, they only challenged the

 certification of claims related to the four corrective disclosures added by Plaintiff when it amended

 the Complaint on February 28, 2019. (Id.) Those four corrective disclosures include those issued:

 September 27, 2017; January 30, 2018; July 12, 2018; and December 14, 2018. On May 26, 2023,

 however, Defendants filed a Motion to Supplement the Class Certification Record (“Second

 Motion to Supplement”). (“Defs.’ Second Motion to Supp. Mov. Br.”, ECF No. 192.) In this

 motion, Defendants ask the Court to consider “recently obtained evidence proving that Plaintiff’s

 alleged corrective disclosures on February 5, 2018, and February 7, 2018, did not contain any new

 allegedly corrective information.” (Id. at 1.)

        Specifically, Defendants submit the Declaration of Terri Oppenheimer (the “Oppenheimer

 Declaration”) in connection with the February 5, 2018, alleged corrective disclosure and the Ted

 G. Meadows, Esq. Declaration (the “Meadows Declaration”) in connection with the February 7,

 2018, alleged corrective disclosure. (See Ex. A to Second Motion to Supplement (“Oppenheimer

 Decl.”) and Ex. B to Second Motion to Supplement (“Meadows Decl.”).) Oppenheimer was the


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 head writer of the Mesothelioma.net blog, and she wrote the February 5, 2018, blog post titled

 “Johnson & Johnson Mesothelioma Trial Likely to Expose Company Documents.” (Oppenheimer

 Decl., ¶¶ 1, 4.) The Mesothelioma.net blog post is one of Plaintiff’s alleged corrective disclosures,

 and it contends that the post publicly disclosed new information that revealed some or all of the

 “truth” that Defendants had allegedly concealed, and as a result impacted J&J’s stock price. In

 her declaration, however, Oppenheimer certifies that the blog post “describe[d] the then-ongoing

 trial in Lanzo v. Cyprus Amex Minerals Co. et al.” against J&J, and that “the blog post was based

 entirely on public information gleaned from conducting internet searches.” (Id. ¶¶ 4–5.) As for

 Meadows, he is a principal at the law firm of Beasley, Allen, Crow, Methvin, Portis, and Miles,

 P.C. (“Beasley Allen”), and has represented plaintiffs in product liability litigation against Johnson

 & Johnson Consumer Inc. and Johnson & Johnson regarding talcum powder products, including

 Johnson’s Baby Powder. (Meadows Decl. ¶ 1.) On February 7, 2018, Beasley Allen published a

 press release about the talcum powder product liability litigation, which included quotes attributed

 to Meadows. The Beasley Allen press release serves as one of Plaintiff’s alleged corrective

 disclosures, because it contends that the release disclosed new information about Defendant’s

 purported fraud that impacted J&J’s stock price. According to Meadows, however, “[n]one of the

 statements in the Beasley Allen press release reflected, or were based on, any documents or

 information that were not publicly available before the publication of the press release, whether

 from having been used in public trials, on J&J’s own website, or in other public forms.” (Id. at ¶

 3.)

        Unlike with the First Motion to Supplement, however, Plaintiff disputes the Court’s basis

 to consider this evidence. Plaintiff argues that “Defendants have not even attempted to show

 excusable neglect or good cause for supplementing the record with arguments that could have been




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 made and declarations that could have been obtained easily within the Court’s ordered deadlines.”

 (“Pl.’s Opp. to Second Motion to Supp.”, ECF No. 197 at 3.) According to Plaintiff, Defendants

 filed the Second Motion to Supplement over one year after the Scheduling Orders’ deadlines for

 class certification, and therefore, Defendants must show good cause and excusable neglect under

 Rule 6(b)(1)(B). (Id. at 2.) Plaintiff highlights that pursuant to the Magistrate Judge’s scheduling

 orders in this case, Defendants’ opposition to Plaintiff’s Motion for Class Certification was

 originally served on December 11, 2020. As such, Defendants were aware of the facts, arguments,

 and witnesses for nearly two years, and yet, they failed to supplement the record with the evidence

 from Oppenheimer and Meadows until December 22, 2021. Indeed, Plaintiff emphasizes that even

 Defendants’ opposition did not challenge the February 5 and February 7, 2018, alleged corrective

 disclosures.

        Here, while the Court is sympathetic to Plaintiff’s argument of timeliness, it also cannot

 overlook its ability to accept new evidence, nor can it disregard the potential relevancy of the

 Oppenheimer and Meadows Declarations. First, it is generally accepted that new evidence relevant

 to class certification can be considered any time prior to final judgment. Indeed, Rule 23(c)(1)(C)

 states that “[a]n order that grants or denies class certification may be altered or amended before

 final judgment.” (Emphasis added). As such, courts have recognized that this means new evidence

 relevant to class certification can—and should be—considered at any time before final judgment.

 See Zenith Labs., Inc. v. Carter-Wallace, Inc., 530 F.2d 508, 512 (3d Cir. 1976) (finding that “a

 district court is obliged to take cognizance of a changed factual situation and may alter an earlier

 [certification] order accordingly”); Bayshore Ford Truck v. Ford Motor Co., Civ. No. 99–741,

 2010 WL 415329, *7 (D.N.J. Jan. 29, 2010) (“[N]ew evidence . . . supports the need for a re-




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 examination of whether continued class treatment is proper.”). 2 Further, although Plaintiff argues

 that Defendants’ motion is untimely, the Court fails to see how Plaintiff would be prejudiced by

 the Court’s consideration of the Oppenheimer or Meadows Declarations. In that connection,

 Plaintiff’s opposition to the Second Motion to Supplement substantively challenges the evidence

 obtained from Oppenheimer and Meadows, arguing that even when considered, Defendants fail to

 show a complete lack of price impact.

          Second, the Court notes that Plaintiff does not challenge the relevancy of the statements

 made by Oppenheimer or Meadows. Rather, aside from challenging the timing of the application,

 Plaintiff simply argues that Defendants still fail to show a complete lack of price impact with

 respect to the February 5 and February 7 alleged corrective disclosures. It is irrefutable that the

 Oppenheimer and Meadows Declarations speak to a critical question in the Court’s class

 certification decision: whether the alleged corrective disclosures were based entirely on public

 information. Recognizing the import of this question—and the potential impact of this new

 evidence—the Court concludes that it should consider the statements by Oppenheimer and

 Meadows in its class analysis. Accordingly, the Court grants the Second Motion to Supplement.

          B.       RULE 23(a) REQUIREMENTS

          Having identified the scope of the record, the Court turns to the requirements of class

 certification. As set forth above, Rule 23(a) sets forth four prerequisites for class certification: (1)

 the class must be so numerous that joinder of all members is impractical (“numerosity”); (2) there

 must be questions of law or fact common to the class (“commonality”); (3) the claims of the

 representative parties must be typical of the claims of the class (“typicality”); and (4) the


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   The Court also notes the practical reality of this new evidence. As Defendants argue in reply, if a class including the
 February 2018 disclosures is certified without the Court having considered the Oppenheimer or Meadows
 Declarations, Defendants will simply move to decertify the class. Thus, in order to conserve time and judicial
 resources, it behooves the Court and the parties to consider this evidence now at this juncture.


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 representative parties must fairly and adequately protect the interests of the class (“adequacy”).

 Fed. R. Civ. P. 23(a). As it relates to the six alleged corrective disclosures at issue, here,

 Defendants do not dispute that the requirements of numerosity, commonality, typicality, adequacy,

 and superiority under Rule 23(a) are all satisfied. (See generally Defs.’ Opp.) Because Defendants

 raise no objections about whether the proposed class meets the Rule 23(a) requirements, the Court

 concludes that the proposed class meets those prerequisites. Accordingly, the Court will focus its

 discussion on Plaintiff’s ability to satisfy the Rule 23(b)(3) requirements.

          C.     RULE 23(b)(3) REQUIREMENTS

          As discussed, Plaintiff seeks to certify its class pursuant to Rule 23(b)(3).          The

 requirements for Rule 23(b)(3) class certification are that “the questions of law or fact common to

 class members predominate over any questions affecting only individual members, and that a class

 action is superior to other available methods for fairly and efficiently adjudicating the

 controversy.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 362 (2011) (citing Fed. R. Civ. P.

 23(b)(3)). These elements are commonly referred to as the “predominance” and “superiority”

 requirements. Id. The Third Circuit has also recognized that “[a] plaintiff seeking certification of

 a Rule 23(b)(3) class must prove by a preponderance of the evidence that the class is

 ascertainable.” Byrd v. Aaron’s Inc., 784 F.3d 154, 163 (3d Cir. 2015), as amended (Apr. 28,

 2015).    Notably, however, Defendants do not challenge class certification with respect to

 superiority and ascertainability. (See generally Defs.’ Opp.) Instead, Defendants argue simply

 that class certification in this case turns on the Basic presumption of reliance which exists under

 the predominance requirement. (Id. at 21.)

          The predominance requirement is “a ‘far more demanding’ standard than the commonality

 requirement of Rule 23(a).” Gonzalez v. Corning, 885 F.3d 186, 195 (3d Cir. 2018) (quoting




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 Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 624 (1997)). It “asks whether the common,

 aggregation-enabling, issues in the case are more prevalent or important than the non-common,

 aggregation-defeating, individual issues.” Ferreras v. Am. Airlines, Inc., 946 F.3d 178, 185 (3d

 Cir. 2019) (quoting Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016)).

 “Predominance turns on the ‘nature of the evidence’ and whether ‘proof of the essential elements

 of the cause of action requires individual treatment.’” Williams v. Jani-King of Phila. Inc., 837

 F.3d 314, 319 (3d Cir. 2016) (quoting Hydrogen Peroxide, 552 F.3d at 311).

          “At the class certification stage, the predominance requirement is met only if the district

 court is convinced that ‘the essential elements of the claims brought by a putative class are capable

 of proof at trial through evidence that is common to the class rather than individual to its

 members.’” Reinig v. RBS Citizens, N.A., 912 F.3d 115, 127 (3d Cir. 2018) (quoting Gonzalez,

 885 F.3d at 195 (internal quotation omitted)). To assess this requirement, district courts “must

 look first to the elements of the plaintiffs’ underlying claims and then, ‘through the prism’ of Rule

 23, undertake a ‘rigorous assessment of the available evidence and the method or methods by

 which [the] plaintiffs propose to use the evidence to prove’ those elements.” Id. at 128 (quoting

 Marcus, 687 F.3d at 600).

          In this instance, Plaintiff seeks class certification on its Section 10(b) and Rule 10b-5 claim.

 To establish its securities claims, Plaintiff must establish “(1) a material misrepresentation or

 omission, (2) scienter, (3) a connection between the misrepresentation or omission and the

 purchase or sale of a security, (4) reliance upon the misrepresentation or omission, (5) economic

 loss, and (6) loss causation.” City of Edinburgh Council v. Pfizer, Inc., 754 F.3d 159, 167 (3d Cir.

 2014).




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        At the class certification stage, the Court need not consider materiality and loss causation,

 but must consider reliance. See Amgen Inc. v. Connecticut Ret. Plans & Tr. Funds, 568 U.S. 455,

 473 (2013) (materiality); Erica P. John Fund, Inc. v. Halliburton Co. (Halliburton I), 563 U.S.

 804, 812–13 (2011) (loss causation); Halliburton Co. v. Erica P. John Fund, Inc. (Halliburton II),

 573 U.S. 258, 267 (2014) (reliance). To establish reliance, a plaintiff may invoke the rebuttable

 presumption set forth in Basic, Inc. v. Levinson, that all investors rely on the integrity of the market

 price when deciding whether to buy or sell stock. 485 U.S. 224, 246–47 (1988). The Basic

 presumption of reliance is based on the “fraud-on-the-market” theory, which provides that where

 a company’s stock trades on an efficient market, its stock price incorporates all material public

 information, including misrepresentations. See id. at 246–47. A plaintiff bears the burden to

 invoke the Basic presumption by showing: “(1) that the alleged misrepresentations were publicly

 known, (2) that they were material, (3) that the stock traded in an efficient market, and (4) that the

 plaintiff traded the stock between the time the misrepresentations were made and when the truth

 was revealed.” Halliburton II, 573 U.S. at 268. If the plaintiff meets that initial burden, the

 defendant may rebut the presumption by making “[a]ny showing that severs the link between the

 alleged misrepresentation and either the prices received (or paid) by the plaintiff, or his decision

 to trade at a fair market price.” Basic, 485 U.S. at 248.

        Here, Defendants challenge only one prerequisite to class certification under Rule 23(b)(3):

 whether common questions of reliance predominate over questions affecting only individual class

 members. (Defs.’ Opp. at 21.) In that connection, they contend that the certification of claims

 related to the corrective disclosures on September 27, 2017; January 30, 2018; February 5 and 7,

 2018; July 12, 2018; and December 14, 2018, is inappropriate because those corrective disclosures

 contained no “new” information, i.e., any of the allegedly corrective information was already




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 publicly available. (Id. at 23–45.) Accordingly, Defendants argue that the class period cannot

 begin before July 16, 2013, because the Court dismissed claims relating to each of the five alleged

 misstatements made prior to that date, and cannot extend past February 7, 2018, because individual

 questions of reliance predominate for alleged corrective disclosures on July 12, 2018, and

 December 14, 2018. (Id. at 45–46.)

        As to the start of the class period, Defendants submit that the alleged misstatements on

 February 22, 2013, April 25, 2013, and May 3, 2015, are “general value-oriented statements” that

 do not specifically address the Talc Products or make any specific claims about the Company’s

 quality assurance process and procedures, and as such those statements were dismissed by the

 Court. (Id. at 45) (citing MTD Opinion at 31.) And the alleged misstatements on February 22,

 2013, and May 3, 2013, which discuss the product liability cases, the Company’s confidence in

 the products at issue, and the inability to predict the outcome of litigation, were also dismissed by

 this Court. (Id.) (citing MTD Opinion at 31.) As for the end date for the class period, Defendants

 contend that, as argued in further detail below, there was no price impact for the alleged corrective

 disclosures on July 12, 2018, and December 14, 2018, pursuant to Plaintiff’s efficient market

 theory. (Id. at 46.) Thus, according to Defendants, Plaintiff’s Motion to Certify Class should be

 denied in its entirety. (See generally Defs’ Second Motion to Supp. ¶ 15)

        Plaintiff, on the other hand, argues that it has established, and Defendants have failed to

 rebut, the fraud-on-the-market presumption of reliance. First, according to Plaintiff, Defendants’

 argument, at best, “present[s] a premature merits-based defense that cannot preclude certification,

 because it goes to whether entire claims should be dismissed, not whether individual reliance issues

 will predominate.” (Pl.’s Reply at 9.) Second, Plaintiff argues that even considering the relevant

 evidence, Defendants have failed to prove a total absence of price impact. (Id. at 23–46.) In that




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 regard, Plaintiff submits that the four corrective disclosures challenged by Defendants revealed

 new information as to the seriousness and extent of the alleged fraud which could not have been

 previously reflected in the stock price. (Id. at 23.) Further, Plaintiff claims that because the

 Reuters article, which ends the Class Period, revealed new information about Defendants’

 fraudulent conduct, price impact is demonstrated for the entire Class Period. (Id.)

                1.     Truth-on-the-Market

        First, as mentioned above, Plaintiff argues that Defendants’ entire argument is a “thinly

 disguised ‘truth-on-the-market’ defense which is not properly considered or resolved at the class

 certification stage,” and therefore, no obstacle exists to class certification. “The ‘truth of the

 market’ defense recognizes that a statement or omission is materially misleading only if the

 allegedly undisclosed facts have not already entered the market.” Winer Family Trust v. Queen,

 Civ. No. 03-4318, 2004 WL 2203709, at *4 (ED. Pa. Sept. 27, 2004), aff’d sub nom, 503 F.3d 319

 (3d Cir. 2007). In other words, the truth on the market defense is where “the market was already

 aware of the truth regarding defendants’ misrepresentations at the time the class members

 purchased their shares, meaning the market price had already adjusted to the revelation of

 defendants’ misstatements, and class members could not have relied on those misstatements in

 choosing to buy stock.” Arkansas Tchrs. Ret. Sys. v. Goldman Sachs Grp., Inc., 879 F.3d 474, 485

 (2d Cir. 2018). Plaintiff submits that courts have routinely held, however, that the truth-on-the-

 market defense is not appropriately resolved at the class certification stage. Amgen Inc. v. Conn.

 Ret. Plans & Tr. Funds, 568 U.S. 455, 481 (2013); In re Allstate Corp. Sec. Litig., 966 F.3d 595,

 602 (7th Cir. 2020); Washtenaw Cty. Employees’ Ret. Sys. v. Walgreen Co., No. 15-3187, 2018

 WL 1535156, at *4 (N.D. Ill. Mar. 29, 2018) (“Numerous courts have agreed that a ‘truth on the

 market’ defense cannot be used to rebut the presumption of reliance at the class-certification

 stage.”); In re Virtus Inv. Partners, Inc. Sec. Litig., Civ. No. 15-1249, 2017 WL 2062985, at *5


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 (S.D.N.Y. May 15, 2017); In re Bridgepoint Educ., Inc. Sec. Litig., No. 12-1737, 2015 WL 224631,

 at *7 (S.D. Cal. Jan. 15, 2015).

         Although the Court agrees with the well-settled premise that an assessment of materiality

 is inappropriate for class certification, it still must consider Defendants’ evidence to the extent that

 it demonstrates there was no price impact for the challenged corrective disclosures under Plaintiff’s

 efficient market theory. Indeed, as the Supreme Court acknowledged in Goldman Sachs Grp., Inc.

 v. Arkansas Teacher Ret. Sys., courts at class certification “must take into account all record

 evidence relevant to price impact, regardless of whether that evidence overlaps with materiality or

 any other merits issue.” 141 S. Ct. 1951, 1961 (2021) (emphasis in original). In that regard, the

 Supreme Court recognized that materiality and price impact are overlapping concepts, explaining

 that “evidence relevant to one will almost always be relevant to the other.” Id. at 1961 n 2. That

 said, “a district court may not use the overlap to refuse to consider the evidence.” Id. (quoting In

 re Allstate Corp. Sec. Litig., 966 F.3d 595, 608 (7th Cir. 2020)). Instead, the district court must

 use the evidence to decide the price impact issue “while resisting the temptation to draw what may

 be obvious inferences for the closely related issues that must be left for the merits, including

 materiality.” Id. (quoting In re Allstate, 966 F.3d at 609).

         Here, Defendants are not arguing about the “truth” of the information or about how a

 reasonable investor would consider the total mix of available information. Rather, Defendants

 contend that the allegedly corrective information was not new, and as such, it “did not actually

 affect the stock’s market price” on the corrective disclosure dates. Because Defendants’ evidence

 about the prior public availability of allegedly corrective information is necessarily probative of




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 price impact, it must not be so quickly brushed aside. The Court therefore rejects Plaintiff’s

 argument related to Defendants’ supposed “truth-on-the-market defense.” 3

                   2.        The Rebuttable Presumption of Reliance under Basic

          A plaintiff may show reliance by invoking the Basic rebuttable presumption that all

 investors rely on the integrity of the market price when deciding whether to buy or sell stock. 485

 U.S. 224, 246–47 (1988). To determine whether the market for a security is efficient, courts in the

 Third Circuit look to the factors identified in Cammer v. Bloom and Krogman v. Sterritt. 711 F.

 Supp. 1264 (D.N.J. 1989); 202 F.R.D. 467 (N.D. Tex. 2001). Plaintiff’s expert comprehensively

 addressed and analyzed the Cammer and Krogman factors. (Pl.’s Mov. Br. at 17.) The expert

 opined that during the relevant period, J&J stock satisfied all of the Cammer and Krogman factors.

 (Id. at 18.) Notably, Defendants do not challenge market efficiency or whether Plaintiff is entitled

 to the presumption. Further, the Court, having reviewed Plaintiff expert’s analysis regarding the

 Cammer and Krogman factors, finds that Plaintiff has adequately shown that J&J stock traded in

 an efficient market and has therefore established a rebuttable presumption of reliance.

                   3.        Defendants’ Burden to Rebut the Fraud-on-the-Market Presumption of
                             Reliance

          Defendants bear the burden of persuasion to rebut the presumption of reliance to prove a

 lack of price impact by a preponderance of the evidence. Goldman, 141 S. Ct. at 1963. At class

 certification, “[t]he district court’s task is simply to assess all the evidence of price impact—direct

 and indirect—and determine whether it is more likely than not that the alleged misrepresentations

 had a price impact.” Id. “In assessing price impact at class certification, ‘court should be open to

 all probative evidence on that question—qualitative as well as quantitative—aided by a good dose


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   The Court notes that Plaintiff appears to concede this argument as well. In a letter to the Court dated July 22, 2021,
 Plaintiff writes that it “agrees with defendants that Goldman clarified that the Court must consider all relevant evidence
 in assessing whether defendants have met their burden of proving a lack of price impact.” (ECF No. 188).


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 of common sense.’” Id. at 1960 (citing In re Allstate Corp. Sec. Litig., 966 F.3d at 613). Even if

 the evidence also relates to a merits question, like materiality, courts must nevertheless consider

 the evidence as it relates to price impact. See id. at 1960–61; see also Halliburton II, 573 U.S. at

 284.

        Importantly, the Supreme Court clarified that a defendant bears the burden to rebut the

 presumption by a preponderance of evidence, consistent with the Court’s holdings in Basic and

 Halliburton II: “The defendant must ‘in fact’ ‘seve[r] the link’ between a misrepresentation and

 the price paid by plaintiff—and a defendant’s mere production of some evidence relevant to price

 impact would rarely accomplish that feat.” Goldman, 141 S. Ct. at 1962 (emphasis in original).

 Thus, “defendant’s burden of persuasion will have bite only when the court finds the evidence in

 equipoise—a situation that should rarely arise.” Id.

         Here, Defendants seek to rebut the presumption for all six of the alleged corrective

 disclosures by arguing that the disclosures contained no new information that was not already

 publicly available. Therefore, Defendants argue that (1) because the information was not new,

 then the disclosures could not have impacted the stock price and (2) Plaintiff’s position runs

 contrary to the efficient market theory because “repetition of already public information cannot

 impact the stock price because it was fully incorporated into the price when first released.” (Defs.’

 Sur-Reply, ECF No. 184 at 4).

        Courts have considered a defendant’s burden to overcome the Basic presumption where

 there are disclosures that allegedly contain no new information post-Goldman. In Allegheny

 County Employees’ Retirement System v. Energy Transfer LP, the defendants argued that the

 “corrective disclosures themselves weren’t ‘new’ news such that they would have an impact on

 the price in an efficient market.” 623 F. Supp. 3d 470, 484 (E.D. Pa. 2022). The court did not




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 accept the defendant’s broad and sweeping argument that the Basic presumption is rebutted simply

 because information in the disclosures was already known. Rather, the court reviewed the

 disclosures individually to determine the impact, if any at all, the public information had on the

 disclosures. For example, the court agreed that an October 27, 2018 article republished all the

 information contained in an October 21, 2018, article. Id. at 500–01. Notably, both articles

 contained information about events that took place a month prior in September 2018. Id. at 501.

 However, the court found that even though the October 27 article was essentially a reprint, it was

 nevertheless important because: (1) the story became more significant because it was deemed

 worthy of a reprint; (2) the reprint brought the story to a wider, national audience; and (3) the

 reprint heightened awareness to a particular issue, which increased the likelihood that investors

 would watch and monitor the issue more closely. Id. In short, the fact that the information was

 previously made public does not preclude the possibility that any later disclosure of that

 information could impact a stock’s price.

        In another post-Goldman case, In re Qualcomm Inc. Securities Litigation, a court agreed

 with the defendants’ arguments that because “there was public information available . . . that

 mirrors the corrective disclosures makes it less likely that the corrective disclosures were actually

 curative.” 2023 WL 2583306, at *13 (S.D. Ca. Mar. 20, 2023). The court provided that the

 “corrective disclosures [that] only repeated already public information . . . makes it less likely that

 Defendants’ alleged misrepresentations inflated Qualcomm’s stock price on the front end and the

 information in the disclosures caused the price drop on the back end.” Id. In addition to

 considering the already public information, the court also analyzed the specific versus generic

 nature of the statements as well as the quantitative impact of the disclosures. Id. at *11–14.




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 Viewing the evidence together, the court ultimately concluded that the defendants rebutted the

 Basic presumption.

                4.      Defendants’ Ability to Rebut the Fraud-on-the-Market Presumption of
                        Reliance

        Under the above legal standards, the Court considers whether Defendants have rebutted the

 presumption by proving lack of price impact as to the six alleged corrective disclosures.

                       i.   September 27, 2017 Alleged Corrective Disclosure

        First, Defendants contend that the Basic presumption is rebutted for the September 27,

 2017, corrective disclosure. (Defs.’ Opp. at 38.) Defendants argue that the Bernstein Release (1)

 did not disclose any new allegedly corrected information and (2) J&J’s stock price declined before

 the Bernstein Release, not in response to it. (Id. at 39–41.)

        Specifically, Defendants argue that the information in the Bernstein Release “was already

 publicly available and ‘impounded in the market price’ as of September 27, 2017” because it was

 published in two Bloomberg articles on September 15, 2017, and September 21, 2017. (Id. at 39.)

 According to Plaintiff, however, the Bernstein Release “signaled to J&J investors that plaintiffs in

 ovarian cancer lawsuits throughout the country were looking to add asbestos allegations to their

 ovarian cancer claims.” (FAC ¶ 184.) Defendants respond that the two Bloomberg articles already

 covered the fact that “J&J was facing additional claims based on allegations of asbestos

 contamination” and that “ovarian cancer plaintiffs in other J&J cases had stated publicly in court

 filings that they were ‘currently investigating the link between our clients’ ovarian cancers and

 talcum powder containing asbestos fibers.” (Defs’ Sur-Reply at 19.) Though the two Bloomberg

 articles discuss J&J potentially facing claims relating to asbestos, it was the Bernstein Release that

 “disclosed that the thousands of ovarian cancer plaintiffs planned to include asbestos allegations




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 in their cases against J&J.” (Pl.’s Reply at 46.) The Bernstein Release was more than a

 republication of already known information as it signaled a new development to J&J investors.

         Defendants’ second, and more compelling argument, is that J&J’s stock price opened on

 September 27, 2017, at $131.00 and closed at $129.75—a decline of $1.25. (Defs.’ Opp. at 41)

 (citing Ex. 25, Kleidon Report ¶¶ 96–99.) The Bernstein Release was issued at 11:46 a.m. EST,

 and according to J&J’s intraday trading history, 97% of the day’s decline—$1.21 of $1.25—

 occurred before that time. (Id.) According to Defendants’ expert, an intraday event study

 confirmed that the $0.04 decline in J&J’s stock price after the Bernstein Release was issued was

 “not statistically significant.” (Id.)

         “[C]ourts generally require a party’s expert to testify based on an event study that meets

 the 95% confidence standard” that a disclosure had a negative impact on a stock price, Halliburton

 II Remand, 309 F.R.D. at 262, but courts have also found that stock prices have been impacted

 when the confidence level was below 95%. See Allegheny, 623 F. Supp. 3d at 487 (“[I]t should

 be noted that even a lack of statistical significance is not invariably fatal to a plaintiff’s case. Event

 studies have an inherent rate of error, and where the statistical evidence does not disprove a null

 value to the requisite confidence level, numerous courts have recognized that as a matter of logic

 such absence of proof is not proof of absence.”); Vizirgianakis v. Aeterna Zentaris, Inc., 775 F.

 App’x 51, 53 (3d Cir. 2019) (“And even were plaintiffs’ study attempting to demonstrate a price

 impact, the district court reasoned that its failure to do so is not necessarily proof of the opposite.”).

 Thus, “courts routinely reject the argument that a non-statistically significant stock price decline

 proves an absence of price impact.” Allegheny, 623 F. Supp. at 487 (quoting Monroe Cnty. Emps.’

 Ret. Sys. v. Southern Co., 332 F.R.D. 370 (N.D. Ga. 2019)).




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        Here, even though the price decline was not at the traditionally “statistically significant”

 standard, when considering the price decline in conjunction with the information published in the

 Release and that Defendants have not identified another explanation for the price decline, the Court

 concludes that Defendants have not rebutted the presumption.

                      ii.   January 30, 2018 Alleged Corrective Disclosure

        With respect to the Law360 article published on January 30, 2018, Defendants again

 contend that all of the allegedly corrective information was already publicly available. (Defs.’

 Opp., 41–43.) Plaintiff alleges that the January 30, 2018, Law360 article titled “No Asbestos in

 J&J Talc, NJ Jury Told In Mesothelioma Case,” which reported on the first days of the Lanzo trial,

 was corrective because (1) it stated that plaintiffs in the product liability cases “have asserted that

 Johnson & Johnson . . . [was] aware that talc contained asbestos in the 1970s,” and cited “a 1975

 report in which the predecessor company allegedly said it found asbestos in the Johnson & Johnson

 powder” as evidence for this claim, and (2) the article described a statement by plaintiffs’ attorney

 in Lanzo that “Johnson & Johnson ‘got together with other companies that were selling talc and

 they chose to call the asbestos something else.’” (FAC ¶ 192.) But, according to Defendants, all

 of this was previously disclosed in several articles published before January 30, 2018. (Defs.’ Opp

 at 41–43.) Defendants identify the following sources containing the information Plaintiff alleges

 is corrective: (1) a January 16, 2018, article included allegations that J&J knew that its talc powder

 contained asbestos; (2) two articles published on January 29, 2018, one day before the Law360

 article, reported on the opening statements made in the Lanzo trial and referenced how J&J called

 “asbestos something else”; and (3) lawyers referenced the 1975 report in the Lanzo trial opening

 statements that took place on January 29, 2018. (Id. at 42–43.)

        It is clear that there is an overlap of information published in the Law360 article and the

 two January 29 articles. However, one piece of information missing from the January 29 articles,


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 but referenced in the Law360 article, is the 1975 report. (Pl.’s Reply at 44.) The parties do not

 dispute that the 1975 report was discussed during the Lanzo trial opening arguments. Instead, the

 parties dispute whether the statements made during the trial can be considered public or “widely

 disseminated.” (Defs’ Opp. at 42; Pl.’s Reply at 44; Defs’ Sur-Reply at 18.) Notwithstanding the

 parties’ dispute over the public nature of the statements, the Court nevertheless concludes that

 Defendants cannot show that the Law360 article had no impact to J&J stock price. Even if the

 Court accepts Defendants’ position that statements made during the Lanzo trial are public, it does

 not preclude a finding that an article analyzing the 1975 report a day after the trial could still affect

 the stock price. Here the analysis turns on whether Defendants can “sever the link” between the

 statement and the stock price by a preponderance of the evidence and not how public or “widely

 disseminated” the information was. Accordingly, an article published on January 30, 2018,

 discussing a report made public only a day before during the opening statements of a trial may still

 impact a stock’s price. The Court therefore finds that Defendants do not rebut the Basic

 presumption of reliance.

                      iii.   February 5, 2018 and February 7, 2018 Alleged Corrective Disclosures

         Next, as outlined above in connection with the Second Motion to Supplement, Defendants

 challenge the February 5 and February 7 alleged corrective disclosures. Though Defendants did

 not initially challenge these two disclosures, (Defs’ Opp. at 45 n. 35), Defendants now contend

 that the Oppenheimer and Meadows Declarations prove that the alleged corrective disclosures did

 not contain any new allegedly corrective information. Again, Defendants attempt to rebut the

 presumption by arguing that there could be no price impact because there was nothing new in

 either disclosure. (See generally Defs.’ Second Motion to Supp. Mov. Br.; Defs.’ Reply to Second

 Motion to Supp.) However, as previously discussed, merely referencing information already made

 public does not itself preclude a finding that the disclosures cannot be certified.


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        Again, while the Court need not determine whether the disclosures are corrective at this

 stage, the Court must determine whether Defendants have met their burden to sever the link

 between the disclosures and the price impact. The February 5 blog post and the February 7 press

 release did analyze and report on statements made during the Lanzo trial about forthcoming,

 damaging J&J documents. However, the Court is not persuaded that the February 5 and February

 7 disclosures merely “repackaged” information that was already public. (Defs.’ Reply to Second

 Motion to Supp. at 2.) While the information in the blog post and the press release might make

 price impact slightly less likely, the following facts undermine Defendants position: (1) Plaintiff’s

 expert opines that a statistically significant decline followed both disclosures, (Pl.’s Opp. to

 Second Motion to Supp. at 17, 22); (2) news media, financial analysts, and J&J employees’

 reaction to the disclosures “belies any argument that the disclosure was devoid of new

 information”, (id. at 18–20); and (3) Defendants have not offered any other explanation for the

 stock price drop other than the disclosures, nor did Defendants’ expert analyze the cause of the

 price drop, (id. at 14). Accordingly, taking all of the evidence together, the Court finds that

 Defendants have not rebutted the Basic presumption.

                      iv.   July 12, 2018 Alleged Corrective Disclosure

        As to the July 12, 2018, alleged corrective disclosure, Defendants submit that the Ingham

 verdict did not disclose any new allegedly corrective information, nor was J&J’s stock price

 decline on July 13, 2018 statistically significant. (Defs’ Opp. at 43–45.) Defendants’ position is

 that “the only new information [the verdict] conveyed was that the jury accepted the plaintiffs’

 theory of the case” because all information relating to the association between asbestos and ovarian

 cancer was already introduced during the course of the trial and reported on by various media

 outlets. (Id. at 43.) Plaintiff disagrees. Plaintiff argues that the Ingham verdict was the first trial




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 containing allegations that the asbestos in talc caused ovarian cancer and therefore the “multi-

 billion dollar verdict constitutes new fraud-related information.” (Pl.’s Reply at 39.)

        The Court is not persuaded that the verdict had no impact at all on the stock price. Similar

 to the January 30, 2018 article discussed above, here, the parties do not dispute that there was

 considerable evidence demonstrated throughout the trial relating to asbestos in talc. However,

 agreeing that the final verdict relates to the information presented at trial does not preclude a

 finding that the announcement of the verdict itself would not affect J&J’s stock price. Though the

 parties dispute whether the verdict constitutes a corrective disclosure, the Court declines to resolve

 that dispute on this motion for class certification. See Halliburton II Remand, 309 F.R.D. 251,

 261–62 (N.D. Tex. 2015) (“This Court holds that Amgen and Halliburton I strongly suggest that

 the issue of whether disclosures are corrective is not a proper inquiry at the certification stage.

 Basic presupposes that a misrepresentation is reflected in the market price at the time of the

 transaction.”) (emphasis in original).

        Further, Defendants attempt to characterize the stock price movement on July 13, 2018 as

 “not statistically significant” fails for the same reasons explained above for the September 27

 disclosure. (Defs’ Opp. at 44.) Here, the evidence showed that the confidence level for the July

 13, 2018 stock price was 94.48%, just shy of the generally accepted standard. That, alone, is not

 enough to rebut the Basic presumption. Looking at the evidence altogether, the Court does not

 agree that Defendants have rebutted the presumption.

                      v.    December 14, 2018 Alleged Corrective Disclosure

        Finally, the parties dispute the December 14, 2018, alleged corrective disclosure. The

 majority of the parties’ briefing focuses on this specific disclosure, and the parties rigorously

 contest whether the information in the Reuters article is new. However, before the Court provides

 a general summary of the parties’ arguments, the Court emphasizes that the burden is on


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 Defendants to establish a lack of price impact between the disclosure and a stock price decline.

 To satisfy this burden, Defendants must do more than produce evidence that is relevant to price

 impact; Defendants must “sever the link” between the disclosure and the stock price decline.

 Goldman, 141 S. Ct. at 1962–63.

         Defendants contend that the market was well aware of the allegations that J&J knew of and

 covered up asbestos contamination “long before” they were published in the Reuters article.

 (Defs.’ Opp. at 23.) According to Defendants, the allegations made against J&J in the Reuters

 article formed the basis for the claims in several trials predating publication of the article, including

 “Herford (10/6/17–11/6/17), Lanzo (1/29/18–4/11/18), and Ingham (6/6/18/–7/12/18).” (Id. at 23–

 24.) In addition, Defendants submit that the allegations found in the Reuters article were “reported

 widely and repeatedly in the press.” (Id. at 24.) And, to the extent that the Reuters article states

 that it is based on fifty-six “internal documents” produced by J&J in connection with product

 liability litigation, Defendants claim that they, and their expert, have “traced every document

 linked or quoted” in the article, and that “100% were publicly available” by September 2018. (Id.

 at 26–27.) It is Defendants’ position that because the article did not contain anything “new,” the

 allegedly corrective information in the article cannot have impacted J&J’s stock price. (Id. at 33–

 36.)

         Unsurprisingly, Plaintiff disagrees and argues that the Reuters article contains several

 additional new pieces of information, and contains Reuters’ “findings and analysis from its

 independent investigation.” (Pl.’s Reply at 24–27.) According to Plaintiff, it is the analysis in the

 article that constitutes new information, and Defendants cannot overcome their burden by tracing

 the documents linked in the article to documents that were already publicly available. (Id. at 32–

 33). Plaintiff also asserts that the report “kicked off a flurry of reaction” at J&J, including a team




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 of lawyers and executives spending days working on a response and an $8 million increase to the

 J&J media budget to respond to the report. (Id. at 27.) Such actions, Plaintiff contends, “would

 hardly be necessary if the Reuters Report was nothing but stale information.” (Id.)

        Having reviewed all of the evidence surrounding the December 14, 2018, disclosure, the

 Court concludes that Defendants have not rebutted the presumption. It is not disputed that the

 Reuters article references previously disclosed documents. (See generally id.)           As Plaintiff

 underscores, however, “the fact that some of the 56 linked documents” were found on a J&J

 website “hardly compares to Reuters’ careful analysis. Indeed, Reuters painstakingly annotated

 the various documents linked, explaining and providing necessary context.”               (Id. at 33.)

 Defendants’ various arguments as to why the disclosure does not contain any new information

 may make it less likely that the disclosure impacted the stock price, but the Court finds that it does

 not suffice to rebut the presumption of price impact by a preponderance of the evidence.

        D.      CLASS DEFINITION

        Rule 23(c)(1)(B) requires that the class-certification order or incorporated opinion indicate

 “(1) a readily discernible, clear, and precise statement of the parameters defining the class or

 classes to be certified, and (2) a readily discernible, clear, and complete list of the claims, issues

 or defenses to be treated on a class basis.” Byrd, 784 F.3d at 163 (citing Wachtel ex rel. Jesse v.

 Guardian Life Ins. Co. of Am., 453 F.3d 179, 187–88 (3d Cir. 2006)). Therefore, the Court will

 certify a Rule 23(b)(3) class (“the Class”), defined as:

                All persons who purchased or otherwise acquired publicly traded
                J&J equity securities, as defined in 15 U.S.C. § 78c(11) and 17
                C.F.R. § 240.3a11-1, between February 22, 2013 and December 13,
                2018.

        The following will be excluded from the class: defendants, present or former executive

 officers of defendants and members of their immediate families, present or former directors of



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 defendants and members of their immediate families, any entity in which a defendant has a

 controlling interest, and the legal representatives, heirs, successors or assigns of any such excluded

 party.

          Finally, SDCERA will be certified as Class Representative and Robbins Geller Rudman &

 Down LLP will be appointed as class counsel.

 IV.      CONCLUSION

          For the reasons set forth above, Defendants’ Motions to Supplement the Class Certification

 Record related to the alleged corrective disclosures on December 14, 2018; February 5, 2018; and

 February 7, 2018 will be GRANTED. Plaintiff’s Motion for Class Certification will also be

 GRANTED. An appropriate Order will follow.

 Date: December 28, 2023

                                                       s/ Zahid N. Quraishi
                                                       ZAHID N. QURAISHI
                                                       UNITED STATES DISTRICT JUDGE




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